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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

v.                                             CASE NO. 4:18cr76-RH-EMT

JOHN THOMAS BURNETTE.

                  Defendant.

____________________________________/


                           ORDER GIVING NOTICE OF A POSSIBLE
                           ADDITIONAL BASIS FOR A GUIDELINE
                            ENHANCEMENT FOR OBSTRUCTION


         The presentence report concludes the offense level should be increased for

obstruction of justice under United States Sentencing Guidelines Manual § 3C1.1.

The report focuses on the false statements that were the subject of the conviction

on count nine. This may be sufficient, without more, to require the increase. See

U.S. Sentencing Guidelines Manual § 3C1.1 cmt. n.8 (2018); see also United

States v. Truss, 723 F. App’x 660, 669 (11th Cir. 2018) (“[T]he Sentencing

Commission clearly intended the enhancement to apply in [defendant’s] case

because his conviction for obstruction of justice was for obstructing the

investigation of the conduct underlying his various fraud convictions.”)




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         This order gives notice that an additional, alternative basis for an increase

under § 3C1.1 will be considered: the defendant’s trial testimony, including but not

limited to false denial of guilt, false testimony about the $100,000 payment related

to the McKibbon Hotel Group project, false testimony about the reasons for the

defendant’s statements to undercover agents, false testimony about the defendant’s

knowledge and approval of the $10,000 payments from undercover agents and the

purpose of the payments, and false testimony about the false statements that were

the subject of the conviction on count nine.

         SO ORDERED on November 4, 2021.

                                          s/Robert L. Hinkle
                                          United States District Judge




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